                 Case 18-04104-jw                          Doc 8        Filed 08/13/18 Entered 08/13/18 14:32:33                    Desc Main
 Fill in this information to identi our case:                            Document     Page 1 of 8
 Debtor I               Valerie Maybank Milligan                                                             D        Check if this is a modified plan, and
                              First Name           Middle Name                Last Name                               list below the sections of the plan that
                                                                                                                      have been changed.
 Debtor 2
 (Spouse, if filing) First Name       Middle Name            Last Name
 United States Bankruptcy Court for the:          DISTRICT OF SOUTH CAROLINA                                 D        Pre-confirmation modification
                                                                                                             D        Post-confirmation modification
 Case number:
 (If known)
                                   I i-o4\0'-\-j'l'i
                                                                    I
District of South Carolina
Chapter 13 Plan                                                                                                                                             12/17

•if•@ Notices
                                                         i
To Debtor(s):              This form sets out options th~t may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy: Procedure, this Court's local rules, and judicial rulings may not be confirm able.
                                                                    I
                                                                    I
                          In the following notice to credi(ors, you must check each box that applies
                                                          !
To Creditors:             Your rights may be affected by this plan. Your claim may be reduced, modified,· or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                          If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                          confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                          Court. The Bankruptcy Court may confirm this plan without further notice ifno objection to confirmation is filed. See
                          Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure 3002, you must file a timely proof of
                          claim in order to be paid under any plan. Confirmation'ofthis plan does not bar a party in interest from objecting to a claim.

                          The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                          plan includes each of the following items. If an item is checked as "Not Included" or if both boxes are checked, the provision
                          will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in          D Included                lil Not Included
              a uartial uavment or no uavment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,            D Included                lil Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                     lil Included              D Not Included
 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                       lil Included              D Not Included
              throm?h ulan, set out in Section 3.l(c) and in Part 8

•ifiW Plan Payments and Length of Plan
2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:


$1,400.00 per Month for 60 months

Insert additional lines       if needed.
The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.


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2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply:
              0           The debtor will make payments pursuant to a payroll deduction order.
              [ill        The debtor will make payments directly to the trustee.
              0           Other (specify method of payment):


2.3 Income tax refunds.
    Check one.        \
              lill        The debtor will retain any income tax refunds received during the plan term.

              •           The debtor will treat income refunds as follows:


2.4 Additional payments.
    Check one.
          lil]    None. If"None" is checked, the rest of§ 2.4 need not be completed or reproduced.

•@•@ Treatment of Secured Claims
To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
automatic stay by another lienholder or released to another Iienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1          Maintenance of payments and cure or waiver of default, if any.

             Check all that apply. Only relevant sections need to be reproduced.

              0           None. If"None" is checked, the rest of§ 3.1 need not be completed or reproduced.

              0           3.l(a) The debtor is not in default and will maintain the current contractual installment payments on the secured claims listed
                          below, with any changes required by the applicable contract and noticed in conformity with any applicable rules. These
                          payments will be disbursed directly by the debtor. None. If"None" is checked, the rest of§ 3.1 need not be completed or
                          reproduced.

              0           3.l(b) The debtor is in default and will maintain the current contractual installment payments on the secured claims listed below,
                          with any changes required by the applicable contract and noticed in conformity with any applicable rules. The arrearage
                          payments will be disbursed by the trustee, with interest, if any, at the rate stated. The trustee shall pay the arrearage as stated in
                          the creditor's allowed claim or as otherwise ordered by the Court.

              lil]        3.l(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                          accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                          between this document and the Operating Order, the terms of the Operating Order control.

              0           3.l(d) The debtor proposes to engage in loss mitigation efforts with _ _ according to the applicable guidelines or procedures
                          of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if applicable.

                          Insert additional claims as needed
              0           3.l(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in
                          Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.


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3.2          Request for valuation of security and modification ofundersecured claims. Check one.

                          None. If"None" is checked, the rest of§ 3.2 need not be completed or reproduced.

3.3           Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

             Check one.
                     None. If"None" is checked, the rest of§ 3.3 need not be completed or reproduced.

3.4          Lien avoidance.

Check one.
                          None. If"None" is checked, the rest of§ 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

              Check one.
              •       None. If"None" is checked, the rest of§ 3.5 need not be completed or reproduced.
                      The debtor elects to surrender the collateral that secures the claim of the creditor listed below. The debtor requests that upon
                      confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under§ 1301
                      be terminated in all respects. A copy of this plan must be served on all co-debtors. Any creditor who has filed a timely proof of
                      claim may file an amended proof of claim itemizing the deficiency resulting from the disposition of the collateral within a
                      reasonable time after the surrender of the property. Any such amended claim, if allowed, will be treated_ in Part 5. 1 below.

 Name of Creditor                                                                Collateral
                                                                                 Timeshare
                                                                                 (Jointly held w/Richard Robinson, Sr.)

 Equiant/Thousand Trails                                                         Mr. Robinson pays for and maintains this Timeshare.

Insert additional claims as needed


•@IN Treatment of Fees and Priority Claims
4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes.and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
Without postpetition interest.

4.2          Trustee's fees

Trustee's fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor's attorney have agreed to an attorney's fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                           disburse a dollar amount consistent with the Judge's guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney's compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney's fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor's attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received$_ _ and for plan confirmation purposes only, the fees and expenses of counsel are estimated at$_ _ or less.


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 Debtor                 Valerie Maybank Milligan                                                      Case number

4.4           Priority claims other than attorney's fees and those treated in§ 4.5.

              Check one.
              D       The debtor is unaware of any priority claims at this time. If funds are available, the trustee is authorized to pay on any allowed
                      priority claim without further amendment of the plan.

               D           Domestic Support Claims. 11 U.S.C. § 507(a)(l):

                            a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (name ofDSO
                                         recipient), at the rate of$___ or more per month until the balance, without interest, is paid in full. Add additional
                                         creditors as needed.

                            b.           The debtor shall pay all post-petition domestic support obligations as defined in I I U.S.C. § 101(14A) on a timely basis
                                         directly to the creditor.

                            c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                         obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                         of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                         order or a statute.

              Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority claims on a pro rata basis. If funds are
available, the trustee is authorized to pay on any allowed priority claim without further amendment of the plan.

4.5           Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

              Check one.
                      None. If"None" is checked, the rest of§ 4.5 need not be completed or reproduced.



      •
Niffi W Treatment ofNonpriority Unsecured Claims
5.1           Nonpriority unsecured claims not separately classified. Check one

              Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
              available after payment of all other allowed claims.

      D         The debtor estimates payments of less than 100% of claims.
                The debtor proposes payment of I 00% of claims.
      D         The debtor proposes payment of 100% of claims plus interest at the rate of%.




5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If"None" is checked, the rest of§ 5.2 need not be completed or reproduced.

5.3          Other separately classified non priority unsecured claims. Check one.

                          None. If"None" is checked, the rest of§ 5.3 need not be completed or reproduced.

•iliM Executory Contracts and Unexpired Leases
6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

              Ill         None. If"None" is checked, the rest of§ 6.1 need not be completed or reproduced.




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•MfM Vesting of Property of the Estate
7.1        Property of the estate will vest in the debtor as stated below:
      Check the appliable box:

      till     Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
               remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
               The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
               plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
               the debtor.

      D        Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
               only if the applicable box in Section 1.3 of this plan is checked and a proposal i:or vesting is provided in Section 8.1.

•MfM Nonstandard Plan Provisions
8.1          Check "None" or List Nonstandard Plan Provisions
              D     None. If"None" is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
this form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box "Included" in§ 1.3.
8.1 (a) Mortgage payments to be disbursed by the Trustee ("Conduit"):
 Mortgage payments, including pre-petition arrears, will be paid and cured by the Trustee as follows:


   Name of                        Description of                         Current             Monthly           Estimated
 . Creditor                       Collateral.                            installrriEint      payment to·.      amount of
                                                                         payment             cure GAP**        PRE-PETITION
                                 · (note Jf principal                , (ongoing              (post-petition    ARREARAGE*
                                   residence; include ·                · payment             mortgage ·.       * (including
                                   county tax map                        amount)*            payments for      the month of
                                   numb~r arid complete;                                     the two (2). ·    filing or
                                   street addr~ss)                                           months            co(lversion)*
                                                                                          . immediately
                                                                                             following .the
                                                                                           . event
                                                                                             beginning
                                                                                             conduit)


   Caliber Home                   House and lot located                 $662.74             $25.00             $8,301.88       $146.00
      Loans, Inc.                    at:                                Escrow for          Or more                            Or more
                                  212 Jacob Piland                      taxes:
                                     Road                               IZ!Yes
                                  Moncks Corner, SC
                                  29461
                                                                        •   No

                                                                        Escrow for
                                  TMS: 181-00-02-002                    insurance:
                                                                        IZI Yes
                                                                        •   No



 * Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed under FRBP
 3002(c) control over any contrary amounts above, and any Notice of Payment Change that might be filed to amend the
 ongoing monthly payment amount.
 ** The Gap will be calculated from the payment amounts reflected in the Official Form 410A Mortgage Proof of Claim
 Attachment and any Notice of Payment Change that might be filed to amend the monthly payment amount, but should not be
 included in the prepetition arrears amount.

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 All payments due to the Mortgage Creditor as described in any allowed Notice of Post-petition Mortgage Fees, Expenses,
 and Charges under F.R.B.P. 3002.1, filed with the Court, will be paid by the Trustee, on a pro rata basis as funds are
 available. See the Operating Order of the Judge assigned to this case.

 Once the trustee has filed a Notice of Final Cure under F.R.B.P. 3002.1(f}, the debtor shall be directly responsible for ongoing
 mortgage payments and any further post-petition fees and charges.

 8.1 (b) Confirmation of this plan does not bar a party in interest from any actions discovered from the documentation, or lack
 thereof, in a proof of claim. The debtor specifically reserves any currently undiscovered or future claims, rights or cause of
 action the debtor may have, regarding any issues not specifically addressed or determined by the plan, against any creditor
 or other party in interest including, but not limited to, violations of applicable consumer protections codes and actions
 under 11 U.S.C. §§ 542, 543, 544, 547 and 548.

 8.1(c)The debtor reserves the right to seek loss mitigation or modification of the mortgage loan using the Loss
 Mitigation/Mortgage Modification Portal procedures described in Chambers Guidelines during the bankruptcy case, which
 may be effective upon subsequent approval by order of the Court.

 8.1 (d) Confirmation of this plan may determine the character (secured, unsecured, or priority), amount, and timing of
 distribution of a creditor's claim regardless of the proof of claim filed. If a creditor objects to a claim's treatment under the
 plan, the creditor must timely object to confirmation.

 8.1 (e) DEBTOR CERTIFICATION

 In connection with this plan, the debtor hereby states that he/she/they carefully reviewed this plan and understand the
 following:

 (1) The obligations set forth in this plan, including the amount, method, and timing of payments made to the trustee and/or
 directly to creditors;

 (2) The consequences of any default under this plan including any direct payments to creditors required by the terms of this
 plan; and                                                           '

 (3) That debtor may not agree to sell property, employ professionals, or incur debt (including modification of debt) during
 the term of the plan without the prior authorization of the Bankruptcy Court.


•fflM Signatures:
9.1            · natures of debtor and debtor attorney

             The debtor and the attorney for the debtor,            if any, must sign below.
 X                                                                                     X
                                                                                               Signature of Debtor 2


                                                                                               Executed o

 X                                                                                     Date




By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.


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                                    UNITED STATE BANKRUPTCY COURT
                                      DISTRICT OF SOUTH CAROLINA

INRE:                                         )
                                              )        CASE NO: 18-04104-jw
                                              )
Valerie Maybank Milligan                      )        CHAPTER13
212 Jacob Piland Road                         )
Moncks Corner, SC 29461                       )
SSN xxx-xx-8425                               )
                       DEBTOR.                )



                                           CERTIFICATE OF SERVICE

          The above-signing parties certify that the foregoing Notice, Plan and Motions was served on aU creditors and
parties in interest entitled to such notice on the above stated <late. The specific list ofnames and addresses of parties
served with this plan is attached to the plan filed with the Court.

VIA US MAIL.
(see attached list)

ELECTRONICALLY

James M. Wyman, Esquire
Chapter 13 Trustee
POBox997
Mt. Pleasant, SC 29465-0997

Date:   i- l2,-I\'
                                                                           ?i:;;.egal for
                                                       Robert R. Meredith, Jr., D.C. I.D. #06152
                                                       Elizabeth fR· Heilig, D.C. I.D. #10704
                                                       Meredith Law Firm, LLC
                                                       Attomeyslfor Debtor
                                                       4000 Fab6r Place Drive, Suite 120
                                                       North Chk-leston, SC 29405
                                                       843-529-9000
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Anderson Brothers Bank
PO Box 310                                  Berkeley County Tax Collector       Caliber Home Loans, Inc
Mullins, SC 29574                           PO Box6122                          Po Box24610
                                            Moncks Comer, SC 29461-6120         Oklahoma City, OK 73124




Comenity Bank/Lane Bryant                   Credit One Bank
Attn: Bankruptcy                            Attn: Bankruptcy                    Discover Financial
Po Box 182125                               Po Box 98873                        Po Box3025
Columbus, OH 43218                          Las Vegas, NV 89193                 New Albany, OH 43054



Equiant/Thousand Trails                                                         First Premier Bank
Attn: Bankruptcy Dept                       Financial Data Systems
                                            1683 Military Cutoff Rd             Attn: Bankruptcy
5401 N Pima Rd Ste 150                                                          Po Box 5524
Scottsdale, AZ 85250                        Wrightsville Beach, NC 28403
                                                                                Sioux Falls, SD 57111



Internal Revenue Service                                                        MUSC Medical Center
Centralized Insolvency Operations           Medicredit, Inc
                                            Po Box 1629      ,                  Hospital Patient Accounting
PO Box 7346                                                                     MSC 819
Philadelphia, PA 19101-7346                 Maryland Heights, MO 63043
                                                                                Charleston; SC 29425



National Health Care Collection
Attn: Bankruptcy Dept                       Richard Robinson, Jr.               Roper St. Francis Physicians
153 Chesterfield Business Parkway           212 Jacob Piland Road               PO Box 650292
Chesterfield, MO 63005                      Moncks Comer, SC 29461              Dallas, TX 75265-0292




SC Department of Revenue                    Verizon Wireless Bankruptcy Admin   Wakefield & Associates
PO Box 12265                                500 Technology Drive                Attn: Bankruptcy
Columbia, SC 29211                          Suite 550                           Po Box441590
                                            Weldon Spring, MO 63304             Aurora, CO 80044



Wells Fargo Bank/Dillards
POBox522
Des Moines, IA 50306-0522
